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                 EXHIBIT 1-2
               Case 1:22-cv-00084 Document 1-3 Filed on 07/20/22 in TXSD Page 2 of 16




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23742380
Notice of Service of Process                                                                            Date Processed: 09/09/2021

Primary Contact:           Gail Patton
                           Space Exploration Technologies Corp.
                           1 Rocket Rd
                           Hawthorne, CA 90250-6844

Electronic copy provided to:                   Sally Weaver

Entity:                                       Space Exploration Technologies Corp.
                                              Entity ID Number 2112254
Entity Served:                                Space Exploration Technologies Corp.
Title of Action:                              Hugo Medellin vs. Arion Morshedian
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Cameron County Court at Law, TX
Case/Reference No:                            2021-CCL-00597-C
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/07/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Mario Cisneros
                                              956-982-1800

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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 Citation for Personal Service
                                Cause No. 2021-CCL-005J7 -C
                              THE -STA.TE OF TEXAS
 NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do
 not file a written answer with the clerk who issued this citation by 10:00 A.M. on the Monday next
 following the expiration of twenty days after you were served this citation and petition, a default judgment
 may be taken against you. In addition to flling-a written answer with the clerk, you may be required to
 make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
 than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.
 TO THE DEFENDANT: -
 Space Exploration Technologies Corp.
 c/o Corporation Service Company d/b/a CSC-Lawyers Inco
 211 E. 7th Street, Suite 620
 Austin, Texas 78701

  GREETINGS:
  You are commanded-to appear by filing a written answer to the PlaintifPs Amended Petition, Jury Demand,
  Notice of Intent to lJse Documents Pursuant to Texas Rules_of Ci-vil Procedure,_Rule_193.7, and- Plaintiffs                —   --
--Request- for -Notice-- by --Defendant of Intent to Seek Admission of Criminal Convictions of Witnesses
  Pursuant to Texas Rules of Evidence, Rule 609(f) at or before 10:00 o'clock A.M..of the Monday next after
  the expiration of 20 days after the date of service of this citation before the Honorable County Court at
  Law III of Cameron County at the Court House of said county in Brownsville, Texas.


  Said Plaintiff's Petition was filed in said court, by Mario A Cisneros (Attorney for PlaintifP or Plaintiff),
  whose address is 2401 Wild Flower DR STE B Brownsville TX 78526 on July 21, 2021, in this case
  numbered 2021-CCL-00597 on the docket of said court, and styled,
                                                  H41G0 MEDELLIN
                                                          1!s
                 ARION MORESHEDIAN and SPACE EXPLORATION TECHNOLOGIES CORP.
  The nature of Plaintiff's demand is fully shown by a true and correct copy of Plaintiff's Amended Petition,
  Jury Demand, Notice of Intent to Use Documents Pursuant to Texas Rules of Civil Procedure, Rule 193.7,
  and Plaintiff's Request for Notice    by Defendant of Intent to Seek Admission of Criminal Convictions of
  Witnesses Pursuant to Texas Rules of Evidence, Rule 609(f) accompanying this citation and made a part
  hereof.
  The officer executing this writ shaff promptiy serve the same according to requirements of law, and the
  mandates thereof, and make due return as the law directs.


  Issued and given under my hand and seal of said Court at Brownsville, Texas, on this the 1st day of
  September, 2021.
                                                          Sylvia Garza-Perez, County Clerk
                                                           Cameron County, Texas
                                                           974 E. Harrison St.
                                                           (P.O. Box 2178)
                                                           Brownsville, Texas 78522-2178


                                                                           By   /s/Martin Obreqon          , Deputy
                                                                                   Martin Obregon
                                                   SHERIFF'S RETURN
  Came to hand on the        day of                               , at          o'clock and executed (not executed) on the

  day of                         , at          o'clock, by delivering to                                  in person a true

  copy of this Citation, upon which I endorsed the date of delivery, together with the accompany copy of the
                                               Cause    of   failure    to    execute    this   citation  is:


  FEES serving 1 copy
  Total . . . . . . . $      Sheriff/Constable                   County, Texas


  Fees paid by:                           By                                , Deputy
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                                                                  FILED
                                                                  2021-CCL-00597
                                                                  8/31/2021 5:24 PM
                                                                  Sylvia Garza-Perez
                              NO. 2021-CCL-00597                  Cameron County Clerk

HUGO MEDELLIN                                  §      IN THE COUNTY COURT AT LAW
Pdaintiff,                                     §
                                               §
 V.                                            §      NO. 3
                                               §
ARION MORSHEDIAN and                           §
SPACE EXPLORATION                              §
TECHNOLOGIES CORP.                             §
Def'endants.                                   §      CAMERON COUNTY, TEXAS


 PLAINTIFF'S AMENDED PETITION, .TURY DEMAND, NOTICE OF INTENT TO USE DOCUMENTS
PURSUANT TO TEXAS RULES OF CIVIL PROCEDURE, RULE 193.7, AND PLAINTIFF'S REQUEST
FOR NOTICE BY DEFENDANT OF INTENT TO SEEK ADMISSION OF CRIMINAL CONVICTIONS OF
           WITNESSES PURSUANT TO TEXAS RULES OF EVIDENCE RULE 609(F)


TO THE HONORABLE JUDGE OF SAID COURT:

       NOV6j COMES Hugo Medellin, hereinafter referred to as `Plaintiffcomplaining of and

about Arion Moreshedian and Space Exploration Technologies Corp., hereinafter referred to as

`Defendants' and for cause of action show unto the Court the following:

                                               I.
              CLAIMS FOR RELIEF AND DISCOVERY CONTROL PLAN

       Plaintiff seeks damages (including punitive damages) over $25,000.00, but not exceeding

$70,000.00, pursuant to Texas Rules of Civil Procedure 47(c)(4). Plaintiff intends that discovery

be conducted under Discoveiy Leve13.

                                           II.
                                  PARTIES AND SERVICE

        Plaintiff Hugo Medellin is an individual whose address is 33229 Long Horn Lane, Los

Fresnos, Texas 78566.

        Defendant Arion Moreshedian, who is believed to reside in the State of California, may

be served with process at his home at the following address: 102953 Trotter Way, Walnut Creelc,
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California 94596, or wherever he may be found. Service of said Defendant as desci-ibed above can

be effected by personal deliveiy.

       Defendant, Space Exploration Technologies Corp., an out of state coiporation, may be

sei-ved with process by serving its registered agent, Coiporation Sei-vice Company d/b/a CSC-

Lawyers Inco at 211 E. 7a' Street, Suite 620, Austin, Texas 78701. Service of said Defendant as

desci-ibed above can be affected by certified mail.

                                            III.
                                  JURISDICTION AND VENUE

        The subject matter in controversy is within the jurisclictional limits of this court.

        Venue in Cameron County is proper in this cause under Section 15.002(a)(1) of the Texas

Civil Practice and Remedies Code because all or a substantial part of the events or omissions

giving rise to this lawsuit occui-red in this county.

                                                  IV.
                                                 FACTS

        On or about June 11, 2021, Plaintiff Hugo Medellin was operating a motor vehicle traveling

westbound near the 3700a' block of Boca Chica Boulevard in Brownsville, Cameron County,

Texas. At a11 times relevant, Defendant Arion Morshedian was operating a motor vehicle directly

behind the Plaintiff's vehicle.

        Defendant Arion Morshedian, failing to control the speed of his vehicle, failing keep a

proper loolcout, and failing to pay due attention to trafflc conditions, slammed violently into the

rear of the Plaintiff Hugo Medellin's vehicle. As a result of the collision, Plaintiff sustained severe

bodily injuries and extensive propei-ty damage.

        Upon information and belief, the vehicle operated by Defendant Arion Morshedian was

owned by Defendant Space Exploration Technologies Corp.



                                    Plaintiff's Amended Original Petition
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       Defendant Arion Morshedian, upon information and belief, was within the course and

scope of his employment for Defendant Space Exploration Technologies Corp., at the time of the

collision. Thus, Defendant Space Exploration Technologies Corp., is liable for the negligent acts

and omissions of its agents, servants, and/or employees, namely Defendant Arion Morshedian

under the doctrine of f-espondeat sitperior. Additionally, upon infonnation and belief, Defendant

Arion Morshedian was an incompetent driver and Defendant Space Exploration Technologies

Coip., negligently entrusted the vehicle driven by Defendant Arion Morshedian at the time of the

subject crash.

                                   V.
                 CAUSES OF ACTION — NEGLIGENCE AGAINST
            DEFENDANT SPACE EXPL012ATION TECHNOLOGIES CORP.

       On or about June 11, 2021, and at all times mentioned herein, Plaintiff alleges that

Defendant Space Exploration Technologies Corp., acting through its employee, Defendant Arion

1Vlorshedian, who was at a11 times acting within the scope of his employment. Defendant Ai-ion

Morshedian was engaged in ftu-therance of Defendant Space Exploration Technologies Corp.'s

business. Because Defendant Arion Morshedian was engaged in accomplishing a task for which

he was employed and acting within the course and scope of his einployment with Defendant Space

Exploration Technologies Corp., when the crash occurred, Defendant Space Exploration

Technologies Corp., is liable to Plaintiff under the doctrine of respondeat superior.

       Upon inforination and belief, Space Exploration Technologies Corp., was negligent in

training Defendant Arion Morshedian; in failing to supervise Defendant Arion Morshedian; and

retaining Defendant Arion Morshedian. Plaintiff alleges that had Defendant Space Exploration

Technologies Corp.'s agents properly.trained Defendant Arion Morshedian this incident could

have been avoided.



                                  Plaintiff's Amended Origirzal Petition
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        At all times pertinent, Defendant Space Exploration Technologies Corp., and any of its

agents, who were acting with their scope of employment were guilty of negligent conduct towards

Plaintiff by:

                a.       Failing to train its employees regarding proper procedures on following
                         distance and stopping distance;

                b.       Failing to train its employees regarding the importance of maintaining a
                         reasonable speed while operating its motor vehicles;

                C.       Failing to trains its employees regarding the importance of rnaintaining a
                         reasonable distance fi-om other vehicles;

                d.       Failing to supervise its agents, set-vants and/or employees to insure the
                         safety of other drivers on the roadway;

                e.       Failiiig to establish and enforce reasonable and adequate policies and/or
                         procedures regarding driving their vehicle;

                f.       Failing to establish and enforce reasonable and adequate policies and/or
                         procedures regarding the transportation of cargo, equipment and/or
                         machinery;

                g.       Failing to reduce or eliminate the likelihood of harm which Defendant knew
                         or should have known.

        These conditions and activities existed even though Defendant Space Exploration

Technologies Corp.'s agents knew or througli the exercise of due diligence should have known of

the existence of the aforementioned and that there was likelihood of a person being injured as

occurred to Plaintiff.

        Fui-thermore, Plaintiff would show the Court that had Defendant Space Exploration

Technologies Corp.'s agents exercised ordinaiy care in the maintenance and/or supervision of such

activity, it would have been noticed and corrected by such persons.

        Plaintiff alleges that each and eveiy, all and singular, of the foregoing acts and/or omissions

on the part of Defendant Space Exploration Technologies Corp., constituted negligence which was

and is a direct and proxiinate result of Plaintift's serious bodily injuries.

                                   Plaintiff's Arnended Original Petition
                                                 Page 4 of 9
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           At all times matei-ial hereto, all of the agents, servants, and/or employees for Defendant

    Space Exploration Technologies Corp., who were connected with the occuiTence made the subject

    of this suit, were acting within the course and scope of their employment or official duties and in

    fiu-therance of the duties of their office or employment. Therefore, Defendant Space Exploration

    Technologies Corp., is further liable for the negligent acts and omissions of its agents, servants,

    and/or employees under the doctrine of respondeat super7or.

                                                     VI.
                CAUSES OF ACTION — NEGLIGENT ENTRUSTMENT AGAINST
                DEFENDANT SPACE EXPLORATION TECHNOLOGIES CORP.

           On June 11, 2021, Defendant Space Exploration Technologies Corp., was the owner of the

    vehicle operated by Defendant Ai-ion Morshedian.

           Defendant Space Exploration Technologies Corp., entrusted the vehicle to Defendant

    Arion Morshedian, a reckless and incompetent driver.

           Defendant Space Exploration Technologies Corp., through the exercise of reasonable care

    should have known that Defendant Arion Morshedian was a reckless and incompetent driver.

           As described herein, Defendant Arion Morshedian was negligent on the occasion in

    question.

           Defendants were the proximate cause of Plaintiffs serious bodily injuries.




-                                            - - -              -            --   -
                                                     VII.
                       PLAINTIFF'S CLAIMS OF NEGLIGENCE AGAINST
                            DEFENDANT ARION MORSHEDIAN




                                     Plaintiff's Amended Original Petition
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       Defendant Arion Morshedian had a duty to exercise the degree of care that a reasonably

careful person would use to avoid hatm to others under circumstances similar to those desci-ibed

herein. Plaintiff's injuries were proximately caused by Defendant Ai-ion Morshedian's negligent,

careless and recicless disregard of said duty.

       The negligent, careless and reckless disregard of duty of Defendant Arion Morshedian,

consisted of, but is not limited to, the following acts and omissions:

       A.      In that Defendant failed to keep a proper lookout for Plaintiff's safety that would
               have been rnaintained by a person of ordinary prudence under the same or similar
               circumstances; Texas Transportation Code §545.401; ,

       B.      In that Defendant failed to tuin his motor vehicle to the right or left in an effort to
               avoid the collision complained of; Texas Transportation Code §545.103;

        C.     In that Defenda.nt failed to inaintain a clear and reasonable distance witli other
               motorists; Texas Transportation Code §545.062;

       D.      In that Defendant was operating his motor vehicle at a rate of speed wliich was
               greater than that would have been operated by a person of ordinary pi-udence under
               the same or similar circumstances; Texas Transportation Code §545.062;

        E.     In that Defendant failed to apply the brakes to his motor vehicle in a timely and
               prudent manner and/or wholly failed to apply his brakes. Texas Transportation Code
               §545.351;

        F.      In that Defenda.nt fa.iled to pay attention in his deiving as a person using ordinary
                prudent care would have done; Texas Transportation Code §545.401;

        G.      In that Defendant failed to keep such distance away from Plaintiff's motor vehicle
                as a person using ordinary prudent care would have done; Texas Transportation
                Code §545.062;

        H.      Tn that Defendant failed to control the speed of his motor vehicle to avoid the
                collision complained of; Texas Transportation Code §545.351; and

        I.      In that Defendant was distracted by an electronic device at or near the tune of the
                collision complained of; Texas Transportation Code §545.4251.

                                     Vllflf.
                      DAMAGES FOR PLAINTIFF HUGO MEDELLIN



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         As a direct and proximate result of the occurrence made the basis of this lawsuit Plaintiff

Hugo Medellin was caused to suffer bodily injuiy, and to incur the following damages:

         A.     Reasonable medical care and expenses in the past. These expenses were incurred
                by Plaintiff, for the necessary care and treatment of the injuries resulting from the
                collision complained of herein and such charges are reasonable and were usual and
                custornary charges for such services in Cameron County, Texas;

         R.     Reasonable and necessary medical care and expenses which, in all reasonable
                probability, will be incuired in the future;

         C.     Physical pain and suffering in the past;

         D.     Physical pain and suffering in the future;

         E.     Physical impau•ment in the past;

         F.     Physical impaiiment which, in all reasonable probability, wi11 be suffered in the
                future;

         G.     Loss of earnings in the past;

         H.     Loss of earning capacity which, in all reasonable probability, will be incun•ed in the
                future;

         I.     Distigurement in the future;

         J.     Mental anguish in the past;

         K.     Mental anguish in the fnture;

         L.     Cost of inedical monitoring and prevention in the future.

                                   IX.
             NOTICE OF INTENT TO USE DOCUIVIENTS PRODUCED BY
         DEFENDANT IN RESPONSE TO PLAINTIFF'S WRITTEN DISCOVERY
          PURSUANT TO TEXAS RULES OF CIVIL PROCEDURE, RULE 193.7

         Plaintiff hereby serves notice that Plaintiff intends to use any and all documents produced

by the Defendant in response to written discovery propounded to Defendant. As such, the

produced documents are self-authenticating pursuant to Texas Rules of Civil Procedure, Rule

193.7.


                                   Plaintiff's Amended Original Petition
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                                   X.
        PLAINTIFF'S REQUEST FOR NOTICE BY DEFENDANTS OF INTENT
        TO SEEK ADMISSION OF CRIMINAL CONVICTIONS OF WITNESSES
            PURSUANT TO TEXAS RULES OF EVIDENCE, RULE 609(f)

       Plaintiff hereby serves notice to the Defendant, pursuant to Texas Rules of Evidence, Rtile

609(f), that Plaintiff demands timely written notice by Defendaiit that Defendant demands to seek

admission of criminal convictions, as defined in Texas Rules of Evidence, Rule 609(a) against any

witness designated by any party as a relevant fact witness, testifying expert witness, and/or any

consulting expert witness whose mental impressions or opinions have been reviewed by a

testifying expert witness.

                                           XI.
                                  REQUIRED DISCLOSURES

       Defendant is requested to disclose, within thirry (30) days of the filing of his Original

Answer, the infoi-mation and documents required by Rule 194.2 (b) (1-12).

                                               XII.
                                          JURY DEMAND

       Plaintiff demands a trial by jury.


                                                 XIII.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the

Defenda.nt be cited to appear and a.nswer herein, and that upon a fmal hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages in an amount within tlhe

jurisdictional limits of the Court; together with pre judgment interest (from the date of injury

through the date of judgtnent) at the maximtim rate allowed by law; post judgment intereat at the

legal rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at

law or in equity.


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                                     Respectfully submitted,
                                     BEGUM LAW GROUP

                                     lsl -'Mario Cisneros
                                     Mario Cisneros
                                     State Bar No.: 24065048
                                     2401 Wild Flower Drive, Ste B
                                     Brownsville, Texas 78526
                                     Telephone: (956) 982-1800
                                     Facsimile: (956) 982-8602
                                     Email: BrownsvilleLea~la,be umlawQroup.com
                                     Attor•neyfor Plaintiff




         COUIZTESY NOTICE TO DEFENDANT

If you had insurance at the time of the collision, please contact
and forward a copy of this petition to your insurance company.




                        Plaintiff's Anlended Original Petition
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Ana Davila on behalf of Mario Cisneros
Bar No. 24065048
adavila@texaslegaigroup.com
Envelope ID: 56845577
Status as of 9/1/2021 8:10 AM CST

Case Contacts

Name             BarNumber Email                              TimestampSubmitted Status

Mario Cisneros             BrownsvilleLegal@begumlawgroup.com 8/31/2021 5:24:49 PM   SENT
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